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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

    MAGGIE R. DEJONG,

                             Plaintiff,

          v.                                            Civil Case No. 22-1124

    RANDALL G. PEMBROOK, former Chancellor              JURY TRIAL DEMANDED
    of Southern Illinois University Edwardsville;
    JAMIE BALL, Director for Equal Opportunity,
    Access, and Title IX Coordination; MEGAN A.
    ROBB, Program Director of the Art Therapy
    Counseling Graduate Program—each in his
    or her individual capacity,

                             Defendants.



                                          COMPLAINT
         Plaintiff Maggie R. DeJong, for her complaint against Defendants, states:

                                    I. INTRODUCTION

         1.    There is a famous expression used to describe the free-speech protection

guaranteed by the First Amendment: “I disapprove of what you say, but I will defend

to the death your right to say it.” 1

         2.    But our nation’s public universities don’t uphold that principle today.

Instead, their message is often the opposite: “I not only disapprove of what you say,

but I will keep you from saying it.”

         3.    And that’s what this case is about: the unconstitutional, censorious

actions of officials at Southern Illinois University Edwardsville (SIUE).

         4.    Ms. DeJong, while a graduate student in the SIUE Art Therapy

Program, posted materials to her social media accounts, sent messages to her fellow

students, and engaged in in-class discussions on an array of topics, including religion,



1Young v. Am. Mini Theatres, Inc., 472 U.S. 50, n.19 (1975), quoting S.G. Tallentyre
(Evelyn B. Hall), The Friends of Voltaire 199 (1907).
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politics, critical race theory, “Black Lives Matter,” the criminal justice system,

COVID-19 regulations, Marxism, and censorship.

      5.     Ms. DeJong’s beliefs, informed by her Christian faith and her

conservative political views, were often not in line with those held by the Art Therapy

Program faculty and students.

      6.     As explained by Defendant Megan Robb, the Director of the Art Therapy

Program, Ms. DeJong was entitled to express her viewpoints so long as they did not

“harm” others.
      7.     Under the Art Therapy Program’s “anti-oppressive framework” and calls

for “social justice,” Ms. DeJong’s speech was often seen as “harmful.”

      8.     Ultimately, Defendant Robb directed and encouraged Ms. DeJong’s

fellow art therapy students to report Ms. DeJong’s purportedly “harmful,” and fully

protected, speech to University officials.

      9.     And in February 2022, University officials—bowing to the cries of

graduate school students claiming they were harmed and offended by Ms. DeJong’s

speech—issued three no-contact orders against Ms. DeJong prohibiting her from

having “any contact” or even “indirect communication” with her fellow art therapy

graduate students, “Student A.S.,” “Student T.P.,” and “Student S.W.”

      10.    The University issued the orders without giving Ms. DeJong the chance

to defend herself and without telling her of the allegations against her.

      11.    The orders simply informed Ms. DeJong that “upon information and

belief . . . interactions between yourself and [Student A.S., Student T.P., and Student

S.W.] would not be welcome at this time.”

      12.    The University failed to identify a single law, policy, or rule that Ms.
DeJong violated. That’s because she violated none.

      13.    Instead, each order read: “This Order is not an indication of

responsibility for a violation of University policy; rather, it is intended to prevent
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interactions that could be perceived by either party as unwelcome, retaliatory,

intimidating, or harassing.”

         14.   Though Ms. DeJong did not engage in any misconduct, University

officials threatened “disciplinary consequences” if she violated the no-contact orders.

         15.   And just in case Ms. DeJong strayed from the confines of the

unconstitutional edicts, University officials copied an SIUE police lieutenant on each

order.

         16.   What’s more Defendant Robb, in an email to the more than 30 students
in the Art Therapy Program, publicly confirmed that Ms. DeJong was under

investigation and accused her of “misconduct” and “oppressive acts.”

         17.   That disclosure violated the SIUE policy requiring University officials

to “take all reasonable steps to ensure confidentiality” during an investigation of a

student for alleged misconduct.

         18.   It wasn’t until March 10—well after University officials received the

demand letter from Ms. DeJong’s attorneys, nearly two weeks after officials rescinded

the no-contact orders, and a month to the day after they issued the orders—that

University officials finally disclosed to Ms. DeJong the materials underlying the

orders and related investigation.

         19.   That same day, they closed their baseless investigation of Ms. DeJong

and advised that “no further inquiry or action is anticipated . . . .”

         20.   The materials that University officials disclosed to Ms. DeJong

comprised screenshots of her social media posts and text messages—captured by her

fellow students, including T.P., over the course of at least a year.

         21.   In those posts and messages, Ms. DeJong expressed her viewpoints on
various topics, including religion, politics, critical race theory, “Black Lives Matter,”

the criminal justice system, COVID-19 regulations, Marxism, and censorship.


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      22.    The materials Defendants used to justify the no-contact orders included,

for example, these social media posts by Ms. DeJong (see generally Ex. 15C):




      23.    According to Student T.P., these and other social media posts “caus[ed]

emotional harm to the students” in the Art Therapy Program and “worr[ied] [them]

as future counselors and mental health advocates.”

      24.    Student T.P. even complained that because of Ms. DeJong’s speech, T.P.

couldn’t “explore [her] own identity, which is a crucial part of becoming a culturally

competent therapist.”

      25.    Rather than, for example, advise Student T.P. and the other

complainants to ignore Ms. DeJong’s speech they disagreed with, or respond



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respectfully to it, University officials sacrificed Ms. DeJong’s civil rights to appease

the art therapy mob.

        26.   And University officials then sat on their hands as Defendant Robb, her

student followers, and even alumni dragged Ms. DeJong’s reputation through the

mud simply because she holds views on an array of topics that differ from those

espoused in the echo chamber that is the SIUE Art Therapy Program.

        27.   Because of Defendants’ actions, Ms. DeJong has suffered sleeplessness,

anxiety, chest pains, feelings of sadness, loss of appetite, weight loss, lack of
concentration, harm to her reputation, and future loss of employment and wages.

        28.   Defendants’ actions violated Ms. DeJong’s clearly established rights

under the First and Fourteenth Amendment.

        29.   What’s more, Defendants acted with malice or a reckless and callous

indifference to Ms. DeJong’s federally protected rights.

                                 II. JURISDICTION & VENUE

        30.   Ms. DeJong sues under 42 U.S.C. § 1983 for violations of the First and

Fourteenth Amendments to the United States Constitution. She seeks damages

under 42 U.S.C. § 1983, declaratory relief under 28 U.S.C. §§ 2201 and 2202 and

Federal Rule of Civil Procedure 57, and reasonable attorneys’ fees and costs under

42 U.S.C. § 1988.

        31.   This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1343.

        32.   Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred in the

Southern District of Illinois.




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                                     III. PARTIES

       33.    Ms. DeJong is a 2018 graduate of Indiana Wesleyan University (magna

cum laude). She graduated from SIUE in May 2022 with a Master of Arts in Art

Therapy Counseling.

       34.    Southern Illinois University is a public university system organized and

existing under the laws of the State of Illinois. SIUE is the St. Louis Metro East

campus of the University system.

       35.    Defendant Randall G. Pembrook served as chancellor of SIUE from

August 1, 2016, to March 1, 2022.

       36.    As chancellor, Defendant Pembrook was SIUE’s chief executive officer

and had supervisory authority over all of the University’s activities.

       37.    Defendant Pembrook was responsible for the enactment, amendment,

and enforcement of university policies and procedures, including Policies 3C6 and

3C7—the University’s unconstitutional “Non-Discrimination and Non-Harassment”

policies.

       38.    Defendant Pembrook was responsible for, among other things, the

application and enforcement of Policies 3C6 and 3C7 through the three no-contact

orders issued against Ms. DeJong.

       39.    Defendant Ball is the Director of the SIUE Office of Equal Opportunity,

Access, and Title IX Coordination (EOA Office). The EOA Office responds to and

investigates complaints of discrimination and harassment made by SIUE employees

and students.

       40.    Defendant Ball directly reported to Defendant Pembrook until his

retirement.

       41.    Defendant Ball, among other things, issued the three no-contact orders

against Ms. DeJong under Policies 3C6 and 3C7.


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       42.   Defendant Megan A. Robb is the Program Director of the SIUE Art

Therapy Counseling Graduate Program and an associate professor.

       43.   As the Director of the Art Therapy Program, Defendant Robb exercises

general responsibility and supervision of the program.

       44.   Her responsibilities include overseeing the program’s assessment

process, including setting the benchmarks, indicators, and criteria for passing the

program; advising art therapy students or assigning advisors to them; ensuring the

program’s curriculum and related experiences prepare students for the art therapy
profession; and addressing student grievances.

       45.   Defendant Robb, among other things, retaliated against Ms. DeJong for

her protected speech by directing and encouraging art therapy students to report Ms.

DeJong to University officials for her speech, publicizing that Ms. DeJong was under

investigation by the University, publicly accusing Ms. Dejong of “misconduct” and

“oppressive acts,” informing an alumna of the Art Therapy Program that Ms. DeJong

was “burning bridges,” and representing that she (Robb) was revising the annual

review process for art therapy students to account for Ms. DeJong’s alleged

“misconduct” and “oppressive acts.”

       46.   Defendants are sued in their individual capacities.

       47.   The acts and policies alleged in this complaint are attributed to

Defendants, who acted under color of a statute, regulation, or custom of the State of

Illinois.




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                             IV. FACTUAL ALLEGATIONS

     A.     The SIUE Art Therapy Program
      48.     Art therapy is a mental health profession that integrates the disciplines

of art and psychotherapy. It uses the creative process, pieces of art created during

sessions, and third-party artwork to help people in treatment explore emotions,

address unresolved conflicts, improve social skills, develop self-awareness, cultivate

emotional resilience, and foster self-esteem. Art therapists are master-level clinicians

who are trained in art and psychotherapy.

      49.     The art therapy profession is small. As reported by the U.S. Bureau of

Labor and Statistics in 2015, there were then only approximately 5,000 members of

the American Art Therapy Association—the largest U.S. professional association for

art therapists. Elkay Torpey, You are a what? Art therapist, U.S. Bureau of Labor

Statistics (Apr. 2015), https://bit.ly/3MrKp8f (last viewed May 26, 2022).

      50.     The SIUE Art Therapy Program is an accredited graduate-level

program in which graduates earn a Master of Arts in Art Therapy Counseling.

      51.     The Art Therapy Program received accreditation in October 2019. At the

time of accreditation, the program was one of only twelve accredited schools

nationally to offer art therapy counseling.

      52.     The program, which requires around 60-semester hours for graduation,

combines classroom instruction, research, and practicum experience.

      53.     The program’s faculty comprise only three professors: Defendant Robb,

Professor Jayashree George, and Professor Shelly Goebl-Parker.

      54.     To ensure individualized instruction, only around ten students are

accepted into the program each fall.

      55.     The program annually provides more than 10,000 hours of mental

health services to the St. Louis and Metro East areas through practica, programming,

and curriculum.

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      56.        On information and belief, a majority of the program’s graduates who

find employment in the therapy profession are employed in the Midwest, including

the St. Louis and Metro East areas.

      57.        The Art Therapy Program, which is based in the SIUE Department of

Art and Design, claims a commitment “to creating a culture of compassion, empathy

and understanding that recognizes and embraces our differences, both individually

and societally.”

     B.     Ms. DeJong’s beliefs and viewpoints
      58.        Ms. DeJong, as shown by her degree, met or exceeded the academic,

clinical, research, ethical, and other requirements of the SIUE Art Therapy Program.

      59.        But Ms. DeJong’s religious beliefs and her views on topics like race

essentialism, defunding the police, and freedom of speech were not in line with those

espoused in the Art Therapy Program, by her professors, and by some of her fellow

students.

      60.        And Ms. DeJong expressed her viewpoints on social media, in

discussions with fellow students, and in class when topically appropriate and with no

substantial disruption of or material interference with University activities.

            1)    Religious viewpoints
      61.        Ms. DeJong is a devout Christian. Her Christian faith requires and

motivates her to love God above anyone else, love her “neighbor” as herself, and tell

others about the Gospel of Jesus Christ.

      62.        While a student at SIUE, Ms. DeJong was open about her faith—in

conversations with friends and classmates and on her social media.

      63.        For instance, in November 2021, Ms. DeJong posted a meme to her social

media account that read in part, “Don’t be deceived” by “[n]ew age practices,” and

cited passages from the New and Old Testaments of the Bible. Ex. 15C at 10.


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       64.        Student S.W. sent Ms. DeJong a private message about the meme,

asking, “Don’t you think it’s not okay to say a person’s belief system is wrong?” Id.

       65.        Ms. DeJong privately answered, “You ask a very good question [S.W.]:)

In a relativist society, that can be viewed that way. But my personal held beliefs are

grounded in objective truth by the gospel of Jesus Christ. My belief compels me to call

out evil that holds people in spiritual bondage. You can totally disagree with me, and

that is your right:) But it is out of love that I call this out. . . .” Id.

       66.        Months later, in February 2022, Ms. DeJong found her statement—
“[M]y personal held beliefs are grounded in objective truth by the gospel of Jesus

Christ”—in another art therapy student’s (or students’) art project displayed in the

SIUE Art & Design Building.

       67.        The project was titled, “The Crushing Weight of Microaggressions.”

       68.        Ms. DeJong also discussed her Christian faith in class. Many times she

explained why, because of her faith, she could not agree with something taught or

discussed during class.

       69.        Others in the program were also open about their beliefs, including

beliefs in the supernatural. For instance, Student S.W., a self-proclaimed witch, said

she wanted to learn how to cast spells. Another student, who was also a self-

proclaimed witch, brought Wicca materials to class. And at times, professors

discussed, and some students used, tarot cards during class.

             2)    Viewpoints on classifying people based on race
       70.        Consistent with her Christian faith, Ms. DeJong believes that every

person is made in the image of God and every human life is infinitely valuable from

conception until natural death. Ms. DeJong thus believes that racism—assigning

negative attributes to and discriminating against individuals based on their race—is

an unqualified evil.


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      71.    Ms. DeJong believes that any ideology that classifies individuals into

groups based on their race and identifies them as perpetually privileged and

oppressors or perpetually victimized and oppressed is sinful.

      72.    She believes such ideologies foster racial division, stereotyping, and

hostility; wrongfully assume that racism terminally infects our social institutions and

laws, requiring their dismantling; and impute racism not just to those who

consciously discriminate based on race, but also to those who do not actively

participate in the prescribed dismantling of our social institutions.
      73.    Ms. DeJong made these views known in various contexts while a student

at SIUE, including in class and on her social media accounts.

      74.    Her views conflicted with those taught in the Art Therapy Program.

      75.    The Art Therapy program teaches that in any given society there are

those who are privileged—usually “unearned” through the “accident” of birth—and

others who are not, and that these differences create social rank based on power.

      76.    In the United States, according to what the Art Therapy Program

teaches, the privileged and powerful comprise “White” people and Christians, among

others, while the perpetually victimized and oppressed comprise people of color and

non-Christians.

      77.    During her graduate studies, Ms. DeJong expressed her belief that the

focus of counseling must be on the individual, not their identity group membership.

She believes that viewing a client in terms of immutable characteristics—e.g., race or

sex—and tying these identities to socially constructed power struggles misses out on

understanding who the client is as a unique individual.




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             3)    Viewpoints on “Black Lives Matter” and the defund-the-police
                   movement
       78.        The “Black Lives Matter” movement and calls to “defund the police”

reached their crescendo during the 2020–2021 school year following the May 2020

murder of George Floyd by Derek Chauvin.

       79.        Ms. DeJong believes that racially-motivated, unjustified use of force is

an alarming violation of the state’s duties to protect innocent human life and pursue

the common good. But Ms. DeJong did not join in the calls to defund the police after

George Floyd’s death because she believes that the defund-the-police movement
would, if successful, undermine the state’s ability to fulfill its duties to protect

innocent human life and pursue the common good.

       80.        Ms. DeJong does not support the Black Lives Matter because of the

organization’s call to “disrupt the Western-prescribed nuclear family.” Black Lives

Matter, What We Believe, https://bit.ly/3LJLyHr (last viewed May 26, 2022).

       81.        Ms. DeJong posted materials critical of Black Lives Matter to her social

media accounts.

       82.        Several of Ms. DeJong’s professors and classmates expressed support for

the Black Lives Matter organization, joined in the calls to defund the police, and

claimed that law enforcement was systemically racist.

       83.        In February 2021, Ms. DeJong wore a hat to class depicting the U.S. flag

in black and white with a single thin-blue-line stripe. She wore the hat—colloquially

known as a “Back the Blue” hat—to express her support for law enforcement.

       84.        Defendant Robb noted during class that Ms. DeJong was wearing the

hat and asked her to explain why she was wearing it.

       85.        Ms. DeJong said that she was wearing the hat to show her support for
law enforcement and explained her belief that defunding the police would hurt

society.


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      86.        Rather than take off the hat to appease Defendant Robb and students

who took offense to it, Ms. DeJong stood her ground as fellow students argued that

the hat was a symbol of oppression and implied that Ms. DeJong was a racist for

wearing it.

      87.        A couple of months later, Defendant Robb brought up during class how

DeJong had earlier worn a blue-lives-matter hat. DeJong’s classmates expressed how

the hat was “unsafe,” comparing DeJong’s wearing the hat to someone eating peanut

butter near a person who is allergic to peanuts.
      88.        Student S.W. commented (paraphrased): “You can like peanut butter all

you want, but when someone goes into a space where there is peanut butter and it’s

going to hurt them, we gotta leave the peanut butter at home.” Student S.W. added

(paraphrased): “We all have to censor ourselves because we have to keep the peace.

We have to do what is best for the general public.”

      89.        Another classmate asked Ms. DeJong (paraphrased): “Are you an

activist or are you a therapist?”

      90.        A third classmate suggested (paraphrased): “Maybe you could honor

police officers with different symbols that are less of the collective identity.”

            4)    Viewpoints on the freedom of speech
      91.        Ms. DeJong believes that the freedom of speech is a fundamental right

protected by the First Amendment to the United States Constitution.

      92.        So too does the Southern Illinois University Board of Trustees. As the

Board recognizes, “Students enrolled in public institutions of higher education are

entitled to the same First Amendment freedoms of association, speech and assembly

. . . that they hold as citizens. Free discourse lies at the heart of the University’s

purpose . . . .” Bd. of Tr. Policy 3.C, https://bit.ly/3PH8H0e (last viewed May 26, 2022).




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       93.    In stark contrast, Defendant Robb told Ms. DeJong that she was entitled

to her viewpoint “unless it harms others.”

       94.    During her second-year review, Ms. DeJong commented to her

professors, “I feel this push [from the program] to not hold to my worldview. But it

feels like you are coming from a very distinct worldview as well.” She then asked, “So

if we’re really accepting this postmodern approach—like everybody has ‘their truth’—

then why am I not allowed to align with my truth?”

       95.    Professor George answered, “It’s actually a James Baldwin quote that’s
coming to mind to explain it. . . . ‘We can disagree and still love each other unless

your disagreement is rooted in my oppression and denial of my humanity and right

to exist.’”

       96.    Ms. DeJong responded, “But then who determines? Because that’s a very

dangerous thing, too. . . . It’s very concerning who determines who silences whom.”

       97.    And Professor Goebl-Parker, in explaining her rating of Ms. DeJong’s

interpersonal skills, wrote about Ms. DeJong, “I have . . . been hearing about her

social media presentation and behavior from outside of the program. . . . . [I]f I am

hearing this, that is very problematic.”

       98.    Professor Goebl-Parker’s reference to “social media presentation and

behavior” was to Ms. DeJong’s speech on her social media.

       99.    On information and belief, Professor Goebl-Parker disagreed with the

content of Ms. DeJong’s social media posts and thus found them “very problematic.”

       100.   Yet each of the three art therapy professors have used their private

social media accounts to express viewpoints on social or political matters.

       101.   For example, in June 2020, Professor George posted to her Instagram
account her artwork proclaiming, “Muslim lives matter,” “Elephant lives matter,” and

“Elephants for Black Lives Matter,” Ex. 16:


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     102.   Also in June 2020, Professor Goebl-Parker changed her profile picture

on   Facebook    to   read,   “encourage    your    hopes,    not   your    fears

#BLACKLIVESMATTER,” Ex. 17:




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      103.   And in November 2021, Defendant Robb posted this meme expressing

her view about the acquittal of Kyle Rittenhouse and added: “Rittenhouse verdict

provided another show of internalized superiority enacted,” Ex. 18:




      104.   The professors engaged in their speech on Black Lives Matter and the

Kyle Rittenhouse trial with no institutional consequences.

      105.   University officials did not investigate, publicly condemn, censor, issue

restraining orders against, or otherwise discipline the professors.

      106.   And rightly so.

      107.   As the Board of Trustees recognizes, when professors “speak or write as

citizens, they should be free from institutional censorship or discipline.” Bd. of Tr.

Stat. Art. VI, § 1.C, https://bit.ly/3lL3OWj (last viewed May 26, 2022).

      108.   Ms. DeJong has no less constitutional freedom than her professors.

      109.   But unlike her art therapy professors, Ms. DeJong faced institutional

censorship and discipline for her speech, including a post on her social media



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proclaiming “All Lives Matter” and another expressing support for the verdict in the

Rittenhouse trial, Ex. 15C at 9, 11:




     C.   The University issues three no-contact orders against Ms. DeJong
          without notice based solely on her protected speech.
      110.   On February 10, 2022, Defendant Ball issued three no-contact orders

against Ms. DeJong related to Student A.S., Student T.P., and Student S.W. Exhibits

3, 4, and 5 are redacted copies of those orders.

      111.   Student T.P. and Student S.W., like Ms. DeJong, graduated from the art

therapy program in May 2022 and were members of the eleven-student cohort that

started in August 2019.

      112.   When Defendant Ball issued the orders in February 2022, Ms. DeJong,

Student T.P., and Student S.W. shared two classes together and worked at the SIUE

Early Childhood Center.


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       113.   Student A.S., also an art therapy master’s student, started the program

a year after Ms. DeJong. Though Student A.S. and Ms. DeJong were acquainted with

each other, they were not in any of the same classes or working together when

Defendant Ball issued the no-contact orders.

       114.   The no-contact orders were substantively identical. Each prohibited Ms.

DeJong from having “any contact” or even “indirect communication” with Student

A.S., Student T.P., or Student S.W. Exs. 3, 4, 5.

       115.   At no time before the University issued the no-contact orders did
Student A.S., Student T.P., or Student S.W. ask Ms. DeJong not to speak to or

otherwise communicate with them.

       116.   In fact, at least two of the students—T.P. and S.W.—followed Ms.

DeJong on her social media accounts and exchanged friendly messages with her

before the University issued the no-contact orders.

       117.   Defendant Ball offered no factual basis for the no-contact orders. She

instead issued them “upon information and belief that interactions between yourself

and [Student A.S., Student T.P., and Student S.W.] would not be welcome at this

time.” Exs. 3, 4, 5.

       118.   In fact, Defendant Ball acknowledged in each order, “This Order is not

an indication of responsibility for a violation of University policy; rather, it is

intended to prevent interactions that could be perceived by either party as

unwelcome, retaliatory, intimidating, or harassing.” Exs. 3, 4, 5.

       119.   Defendant Ball informed Ms. DeJong that the orders “will remain in

effect during the remainder of the spring 2022 semester, unless I inform you that my

office has modified or revoked [them].” Exs. 3, 4, 5.
       120.   Each order also provided that “if at any time” Ms. DeJong “need[ed] to

communicate” with the complainant, “you may do so only through me or a third party

explicitly authorized by me.” Exs. 3, 4, 5.
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      121.     Each order included a “CONFIDENTIALITY NOTICE” that “strictly

prohibited” “unauthorized review, use, disclosure, or distribution, in any form

whatsoever of this message and its parts.” Exs. 3, 4, 5.

      122.     Defendant Ball threatened “disciplinary consequences” if Ms. DeJong

violated the no-contact orders. Exs. 3, 4, 5.

      123.     Defendant Ball copied Lieutenant Adam Severit of the SIUE Police

Department on each order. Exs. 3, 4, 5.

      124.     By doing so, Defendant Ball intimated discipline of Ms. DeJong,
including punishment under the law.

      125.     On information and belief, Defendant Pembrook authorized the

issuance of each no-contact order.

      126.     Neither before nor when Defendant Ball issued the no-contact orders did

she or anyone else from the EOA Office inform Ms. DeJong of the allegations against

her or allow her the chance to be heard.

      127.     On information and belief, Defendant Pembrook knew of these failures,

approved of them, and took no action to remedy them.

          1)    The SIUE non-discrimination and non-harassment policy and
                procedures
      128.     Two university policies governed the no-contact orders: Policy 3C6 and

Policy 3C7. Exhibits 1 and 2 are copies of those policies.

      129.     Policy 3C6 is SIUE’s “Non-Discrimination and Non-Harassment Policy.”

Defendant Pembrook authorized that policy effective August 29, 2017.

      130.     Policy 3C6 incorporates Policy 3C7. Ex. 1, ¶ C.

      131.     Policy 3C7 sets out the procedures for complaints of discrimination and

harassment, except that the procedures for complaints of sexual harassment are set

out in a separate university policy. Ex. 2 (introduction); see also Ex. 1, ¶ C (same).



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                a)   Policy 3C6
       132.   Policy 3C6 prohibits “[d]iscrimination against persons or groups of

persons based on” one of the fifteen protected categories listed in the policy. Ex. 1, ¶

A. The policy also prohibits “[h]arassment of any kind.” Id.

       133.   Under the policy, “[d]iscriminatory harassment includes, but is not

limited to, conduct (oral, written, visual or physical) directed against any person or

group of persons because of” one of the fifteen protected categories listed in the policy,

which “has the purpose of, or reasonably foreseeable effect of, creating an offensive,

demeaning, intimidating or hostile environment for that person or group of persons.”
Id. The policy adds, “Such conduct includes, but is not limited to, objectionable

epithets, demeaning depictions or treatment, and threatened or actual abuse or

harm.” Id.

       134.   “Discrimination, including harassment, in any form covered by” Policy

3C6 is “strictly prohibited” and “subject to disciplinary action up to and including

discharge.” Id., ¶ E.

       135.   Defendants interpret Policy 3C6’s prohibition against discrimination

and harassment as encompassing protected speech.

                b)   Policy 3C7
       136.   Policy 3C7 sets out “informal” and “formal” complaint procedures. Ex. 2,

¶¶ III, IV. The policy encourages individuals to utilize the informal procedures and

to seek resolution at the lowest level of supervision. The policy charges the person

who hears or receives an informal complaint with promptly taking the steps

necessary to resolve the complaint, if appropriate, and with documenting the process.

Id. ¶ III.

       137.   In contrast, the formal complaint procedures require the complainant to

file a written complaint with the EOA Office and establish certain deadlines based

on that filing. Id. ¶ IV.

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      138.   Unless there are “special circumstances,” formal complaints “shall be

filed” with the EOA Office “within 60 days after the occurrence of the alleged

discriminatory behavior.” Id. ¶ II.

      139.   Within five working days of receipt of the complaint, the EOA Office

must “[m]eet with the complainant to obtain the details of the allegations and make

a written record of the complaint” and “[i]nform the appropriate Vice Chancellor that

a complaint has been filed.” Id. ¶ IV.A.1.

      140.   Policy 3C7 also sets out various rights a respondent has. Within ten
working days of receipt of a formal complaint, the EOA Office must, among other

things:

          a. “Meet with the respondent and provide a copy of the allegations.”

          b. “Advise the respondent of the right to due process.”

          c. “Allow the respondent five (5) working days to respond to the

             allegations.”

      141.   Neither Defendant Ball nor anyone else from the EOA Office complied

with these requirements with respect to Ms. DeJong.

      142.   On information and belief, Defendant Pembrook knew of these failures,

approved of them, and took no action to remedy them.

      143.   Policy 3C7 authorizes sanctions against a respondent, but only if “there

is a finding of discrimination against a student or student group.” Id. ¶ VI.B. The

authorized sanctions “include[e], but [are] not limited to,” a letter of apology to the

victim, counseling sessions, diversity training, transfer to another class or job,

transfer to another housing unit, a letter of reprimand, a written warning, and

probation, suspension, or dismissal from the University.
      144.   Policy 3C7 mentions nothing about no-contact orders.




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      145.     The policy states that during the investigation period, the EOA Office

“may assess whether interim measures are appropriate and make a recommendation

for a consideration of such measures to the appropriate University official.” Id. ¶ IV.E.

      146.     But the policy fails to define, describe, or otherwise set out what

constitutes an “appropriate” “interim measure[ ].”

      147.     The policy also fails to define, describe, or otherwise establish any

standard for imposing “interim measures.”

      148.     The policy also fails to require University officials—either before or
when they impose the interim measures—to advise the respondent of the allegations

against the respondent or give the respondent the opportunity to be heard.

      149.     Nor does the policy permit an appeal of the imposition of interim

measures. An appeal may instead be taken only from the EOA Office’s final report of

findings. Id. ¶ V.

      150.     On information and belief, Defendants Pembrook and Ball interpret

“appropriate” “interim measures” to include no-contact orders, such as those issued

against Ms. DeJong.

      151.     On information and belief, the EOA Office must confer with the

chancellor before issuing a no-contact order as an “interim measure[ ].”

          2)    Ms. DeJong’s demand letter.
      152.     When Ms. DeJong received the no-contact orders, she did not know why

the University had issued them. But Ms. DeJong suspected that the University did

so based on her protected speech.

      153.     Thus, on February 23, 2022, Ms. DeJong, through her attorneys, sent a

letter to Defendant Pembrook demanding that the University rescind the no-contact

orders. Exhibit 6 is a redacted copy of that letter.




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      154.     On February 28—eighteen days after the University issued the orders—

Defendant Ball emailed Ms. DeJong, informing her, “The No Contact Directive[s] as

between yourself and [Student T.P.], [Student A.S.], and [Student S.W.] have been

rescinded, effective immediately. Faculty who had been previously informed of the

No Contact Directives have been informed that they have been rescinded.” Exhibit 8

is a redacted copy of that email.

      155.     It was not until March 10, 2022—one month to the day after the

University issued the no-contact orders and over two weeks after receiving the
demand letter—that University officials informed Ms. DeJong of the allegations

against her.

     D.   The baseless allegations underlying the no-contact orders and the
          University’s investigation of Ms. DeJong
      156.     On March 10, Ms. DeJong received an email from Defendant Ball that

included a case-closure memorandum informing Ms. DeJong that the investigation

was closed. Exhibit 15A is a redacted copy of that memorandum.

      157.     Attached to the email were electronic copies of: (a) a formal complaint

that Student T.P. filed against Ms. DeJong; (b) the materials that Student T.P.

submitted in support of her complaint (voice memos from Ms. DeJong and screenshots

of her social media posts and text messages); and (c) a screenshot of a text message

from Ms. DeJong to Student S.W.

      158.     Exhibit 15B is a redacted copy of Student T.P.’s formal complaint,

Exhibit 15C is a redacted copy of the screenshots that Student T.P. submitted with

her complaint, and Exhibit 15D is a redacted copy of the screenshot of Ms. DeJong’s

text message to Student S.W.

      159.     Defendant Ball reviewed the materials comprising Exhibits 15B

through 15D before issuing the no-contact orders.



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       160.     On information and belief, Defendant Pembrook was aware of the

content of the materials before he authorized the no-contact orders.

           1)    Student T.P.’s formal complaint and supporting materials
       161.     Student T.P. filed her formal complaint and supporting materials on or

about February 2, 2022—eight days before Defendant Ball issued the no-contact

orders.

       162.     Student T.P. alleged that Ms. DeJong committed “discrimination” and

“harassment” based on “religion.” Ex. 15B at 1.
       163.     Directed to “[d]escribe the specific incident(s) of alleged discrimination,

harassment, and/or retaliation,” Student T.P. alleged: “Maggie DeJong has posted

specific social media content that directly attacks and belittles my own religious

beliefs. She has also specifically told me that I will not be saved when the rapture

comes. She claims to have ‘objective truth’ and insists on making other belief systems

silent.” Id., ¶ IV.a, at 2.

       164.     Student T.P. left out of her complaint that the discussion she and Ms.

DeJong had about the “rapture” (a) occurred well over a year before T.P. filed her

complaint; (b) took place between the two then-friends at Ms. DeJong’s apartment

where T.P. was visiting; and (c) involved T.P. (an atheist) and Ms. DeJong making

jokes about their respective situations if such an event ever occurred.

       165.     Defendants never tried to learn anything from Ms. DeJong about that

conversation and its circumstances before issuing the no-contact orders.

       166.     Directed to “[s]tate specific reason(s) why you believe you were

discriminated, harassed, and/or retaliated against because of your protected class

status,” Student T.P. wrote: “I believe this is discrimination/harassment because I
feel unable to speak about my own belief system in a context where [Ms. DeJong] is

present (all class settings) and explore my own identity, which is a crucial part of

becoming a culturally competent therapist.” Id., ¶ IV.b, at 2.
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      167.   Student T.P. provided the names of eleven fellow art therapy students,

including Students A.S. and S.W., who T.P. claimed “[were] willing to speak on their

own experience with Maggie” and who “[had] either experienced harm or [had]

witnessed its effect in [their] program.” Id., ¶ IV.d, at 2.

      168.   Student T.P. described the materials she submitted to the EOA Office

in support of her formal complaint as (a) “a collection of screenshots specifically

causing emotional damage to students of [the art therapy] program,” (b) “screenshots

of conversations Maggie has had with individual students that worry us as future
counselors and mental health advocates,” and (c) “an audio recording of part of [a]

conversation I had with Maggie.” Id., ¶ VI, at 3.

      169.   The screenshots of Ms. DeJong’s social media posts that Student T.P.

submitted to the EOA Office were of posts Ms. DeJong made between early January

2021 through around January 17, 2022.

      170.   The time stamps on many of the screenshots show that they were

captured within hours, if not minutes, of their posting. See, e.g., Ex. 15C at 1–3, 8–

14.

      171.   This includes the timestamps on posts that Ms. DeJong made in or about

January 2021. See id. at 1–2.

      172.   Thus the person (or persons) who captured Ms. DeJong’s social media

posts began doing so more than a year before Student T.P. filed her formal complaint.

      173.   Student T.P. voluntarily looked at each of Ms. DeJong’s social media

posts that allegedly caused Student T.P. “emotional damage” and allegedly prevented

her from “explor[ing] her own identity.”

      174.   Among the screenshots of Ms. DeJong’s social media posts that Student
T.P. submitted to the EOA Office were (see generally Ex. 15C):

          a. These memes about “institutional racism” and critical race theory, id. at

             1, 8:
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       b. This post concerning the riots at the United States Capitol, id. at 2:




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       c. This pro-life post proclaiming “knowledge leads to life,” id. at 8:




       d. This posts about COVID, id. at 12:




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       e. This post about censorship, id. at 13:




       f. And Ms. DeJong’s profile on Parler, a politically conservative social

          media platform, id. at 2:




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         2)    Defendant Robb meets with Student T.P. about Ms. DeJong’s
               social media posts.
      175.    Student T.P. reported that she met with Defendant Robb on October 26

and November 19, 2021, and that Robb “directed [her] to have a conversation with

Dean Kevin Leonard, who sent [her] to [the EOA Office].” Ex. 15B, ¶ IV.c, at 2.

      176.    Among the items Student T.P. submitted to the EOA Office were

screenshots of these materials from October 26, 2021 (subparagraphs a and b) and

November 19, 2021 (subparagraphs c through f):

         a. A meme that Ms. DeJong posted to her Instagram Story comparing

              employment discrimination based on national origin and race to

              employment discrimination based on vaccination status, Ex. 15C at 3;

         b. A debate between Student T.P. and Ms. DeJong—initiated by T.P.—

              about that meme and other COVID-related matters, id. at 4–7;

         c. A text message that Ms. DeJong sent to Student T.P.’s then-roommate

              recommending a podcast titled, “Demons are Real,” id. at 10;

         d. The post that Ms. DeJong made to her Instagram Story after the verdict

              in the trial of Kyle Rittenhouse stating in part, “Justice and truth

              prevailed in the face of lies and deception from the mainstream media

              trying to twist the narrative. . . .” id. at 9;

         e. The meme that Ms. DeJong posted to her Instagram Story, which read

              in part, “Don’t be deceived” by “[n]ew age practices,” and cited passages

              from the New and Old Testaments of the Bible, id. at 10;

         f. Student S.W.’s response to that meme asking, “Don’t you think it’s not

              okay to say a person’s belief system is wrong?” id.; and

         g. Ms. DeJong’s reply to Student S.W.’s question: “You ask a very good

              question . . . . In a relativist society that can be viewed that way. But my




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               personal held beliefs are grounded in objective truth by the gospel of

               Jesus Christ. . . . ” id.

      177.     On information and belief, Student T.P. met with Defendant Robb on

October 26, 2021, and informed her of the content of Ms. DeJong’s social media posts,

including the October 26 social media posts and messages described in paragraphs

175(a) and (b) and depicted in Exhibit 15C.

      178.     On information and belief, Student T.P. met with Defendant Robb on

November 19, 2021, and informed her of the content of Ms. DeJong’s social media
posts, including the November 19 social media posts and messages described in

paragraphs 175(c) through (f) and set depicted in Exhibit 15C.

      179.     Defendant Robb knew that Ms. DeJong’s social media posts, including

the October 26 and November 19 social media posts and messages, were protected

speech under the First Amendment.

      180.     Even so, Defendant Robb directed Student T.P. to meet with Dean

Leonard about Ms. DeJong’s social media posts.

      181.     On information and belief, Defendant Robb directed and encouraged

other art therapy students to report Ms. DeJong’s protected speech to University

officials, including Dean Leonard and Defendant Ball.

          3)    Student S.W.’s screenshot of Ms. DeJong’s text message
      182.     Neither Student A.S. nor Student S.W. submitted a formal complaint

against Ms. DeJong.

      183.     But Student S.W. did submit a screenshot of a text message from Ms.

DeJong that Student S.W. allegedly “perceived as threatening.” Ex. 15A.

      184.     That message read: “[Student S.W.], I see where there are different
forms of power, but I refuse to succumb to critical race theory. I think it is divisive

and racist in its essence. So maybe I don’t approach it your way, but I would be careful

with your bold statements about me.” Ex. 15D.
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      185.   Ms. DeJong’s message did not communicate an expression of an intent

to commit any act against Student S.W., let alone an unlawful act of violence.

      186.   What’s more, Ms. DeJong sent that message on or about March 26,

2021—over ten months before Defendant Ball issued the no-contact orders.

      187.   That message was part of a string of more than 40 text messages

between Ms. DeJong and Student S.W. sent between March 24 and 27, 2021, in which

they expressed their respective viewpoints on several topics, including Second

Amendment rights, gun laws, and “privilege and power.”
      188.   Immediately preceding the text message that Student S.W. “perceived

as threatening,” Student S.W. wrote: “You’re an amazing, kind, caring person but not

being able to identify any forms of power or privilege you have especially over other

people is alarming to me.”

      189.   And after Ms. DeJong sent the allegedly threatening text message,

Student S.W. never told Ms. DeJong that she perceived the message as threatening.

      190.   In fact, the four-day text message debate between Ms. DeJong and

Student S.W. ended with these messages:

      DeJong:      I wanted to reiterate to you today how much I value you.
                   Even though we don’t agree. I see a beautiful heart and
                   compassion for children in you. A strong warrior. And
                   honestly a hilarious personality that I think is so necessary
                   when we find ourselves taking ourselves to[o] seriously in
                   our program. I just can’t express enough the goodness you
                   bring and I didn’t want that to get washed out with our
                   disagreement last night. That is more important that you
                   know this, then [sic] anything else:) sorry if this follow up
                   is annoying. But I am okay risking being annoying if it
                   means I can express this to you. Have a beautiful Saturday.
                   [flower emoji]

      Student 3:   I know. Late night is not how I wanted that conversation
                   to go. I value you too.




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          4)    Defendant Ball’s case-closure memorandum
      191.     Defendant Ball authored the March 10 case-closure memorandum

addressed to Ms. DeJong. See Ex. 15A.

      192.     The memorandum advised that “no further inquiry or action is

anticipated with the . . . allegations” made against Ms. DeJong. Id.

      193.     Defendant Ball wrote, “Upon review of the information associated with

[Student T.P.’s] claim of religious harassment/discrimination, it was determined that

Ms. DeJong’s behavior did not rise to the level of any policy violation.” Id.

      194.     Ms. DeJong learned for the first time that the EOA Office’s investigation
of her also concerned an “Allegation of Harassment/Discrimination Based On Race.”

Id.

      195.     Defendant Ball reported, “While conducting an initial inquiry relating

to [Student T.P.’s allegation], it was learned that another student had recounted that

Ms. DeJong addressed a Black person using a racial slur. It was also learned that the

same Black person perceived that Ms. DeJong made a statement that was perceived

as threatening. (Please see Attachment 2)”—i.e., Exhibit 15D. Id.

      196.     The person Defendant Ball called “Black person” is Student S.W.

      197.     On information and belief, the person Defendant Ball referred to as

“another student” (Undisclosed Accuser) was Student A.S. or Student S.W.

      198.     Undisclosed Accuser fabricated her allegation.

      199.     There was no formal complaint alleging that Ms. DeJong addressed or

referred to Student S.W.—or any other student—using a racial epithet. Id. What’s

more, Student S.W. never filed a formal complaint about the solitary text message

that she allegedly “perceived as threatening.”

      200.     In fact, Defendant Ball reported that “these alleged incidents”—i.e., the

text message and alleged epithet—were “remote in time and outside of the 60-day

time period during which a formal complaint can typically be accepted” under Policy

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3C7. Ex. 15A; see Ex. 2, Policy 3C7, ¶ II (permitting extension of 60-day limitation

period only “[u]nder special circumstances”).

      201.     University officials, including Defendants Pembrook and Ball, either

knew or took no meaningful steps to discover that “these alleged incidents” occurred

beyond the 60-day limitations period before issuing the no-contact orders.

      202.     Had Undisclosed Accuser ever heard Ms. DeJong “address[ ] [Student

S.W.] using a racial slur”—or had any evidence that Ms. DeJong ever made such a

statement—Undisclosed Accuser would not have hesitated to immediately report Ms.
DeJong.

      203.     At the very least, Undisclosed Accuser would have done so within Policy

3C7’s 60-day limitations period.

    E.    University officials refuse to publicly clear Ms. DeJong of
          wrongdoing as Defendant Robb stokes the flames with public
          accusations.

          1)    The Art Therapy Program’s pitchfork mentality
      204.     By at least February 22, 2022—a day before Ms. DeJong’s counsel sent

a demand letter to University officials and issued a press release—it was publicly

known that the University had issued no-contact orders against Ms. DeJong.

      205.     On February 22, during Ms. DeJong’s practicum supervision class,

students brought up that there was “tension” in the Art Therapy Program.

      206.     Although the no-contact orders were not specifically mentioned by

students during the class, it was clear that the students were aware of the orders and

believed the orders were the basis of the tension.

      207.     Ms. DeJong texted one of her classmates during class asking, “What is

going on?” The classmate answered, “It’s about some community action against micro
aggressions and supposed racism in the program . . . . [S]upposedly people are doing

no contact orders.”


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      208.    Another student texted Ms. DeJong stating, “I’m sending you mental

support Maggie.” Ms. DeJong answered, “I’m trying not to cry.”

      209.    The adjunct faculty member who taught the class repeatedly asked Ms.

DeJong to comment on the perceived tension.

      210.    Ms. DeJong declined the faculty member’s repeated requests to

comment on the perceived tension.

      211.    Ms. DeJong did not feel comfortable discussing either the perceived

tension or the no-contact orders given the University’s hair-trigger issuance of the
orders and threatened discipline for violating them.

      212.    The next week, on February 28, Ms. DeJong received a private message

on Facebook from “Alumna One”—an SIUE alumna and art therapist at a local

service provider where Ms. DeJong had interned the year before. Exhibit 9 is a

redacted copy of that message.

      213.    Ms. DeJong had recently interviewed Alumna One for an ethics class

assignment.

      214.    In her message, Alumna One said she (a) had “been informed of your

harassment to your black colleague,” (b) hoped “you didn’t cause any harm to the

black clients you had when you were [an intern]”; and (c) hoped “you pick a different

career because there’s no place for racism in a therapy office.” Ex. 9.

      215.    Alumna One also asked Ms. DeJong not to submit the interview as part

of her ethics assignment. Id.

      216.    The next day, March 1, the Art Therapy Program held a “community

meeting” on campus.

      217.    Ms. DeJong did not attend the meeting.
      218.    On information and belief, Students A.S. and T.P. attended the meeting

and the subject of the no-contact orders came up during the meeting.


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      219.      On information and belief, one or more students in attendance accused

Ms. DeJong of denying that white supremacy existed and of being a racist.

      220.      On information and belief, some students in attendance became

enraged.

      221.      Defendant Robb was present at the meeting.

      222.      On information and belief, Defendant Robb took no steps during the

meeting to quell the frenzy or dispel the allegations against Ms. DeJong.

      223.      On March 2, 2022, Ms. DeJong, through counsel, emailed SIUE counsel
requesting that the University email all the students and faculty in the Art Therapy

Program stating that Ms. DeJong did not violate any university policy and that the

no-contact orders were issued without complying with the procedures in Policy 3C7.

Exhibit 10 is a redacted copy of that email.

      224.      The University never sent the requested email.

           2)    Defendant Robb publicly accuses Ms. DeJong of “burning
                 bridges,” “oppressive acts,” and “misconduct.”
      225.      On March 2, Student S.W. emailed Ms. DeJong with the subject line,

“Another thing Maggie did.” Exhibit 11 is a redacted copy of that email.

      226.      The body of the email included only an internet link.

      227.      On information and belief, Student S.W. intended to send the email with

a link to Defendant Robb (username: “mrobb”), but the autofill function in Student

S.W.’s email caused her to mistakenly email Ms. DeJong (“mdejong”).

      228.      Ms. DeJong did not respond to Student S.W.’s email.

      229.      About an hour later, Defendant Robb emailed the same internet link to

Ms. DeJong and asked, “Would you like to talk?” Exhibit 12 is a copy of that email.

      230.      Ms. DeJong did not respond to Defendant Robb’s email.




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      231.   The link was to a February 28 news article in The Daily Citizen titled,

“University Orders Christian Grad Student to have ‘No Contact’ with Students Who

Disagree with her Viewpoint.” Exhibit 7 is a copy of the story.

      232.   Ms. DeJong was interviewed for the story.

      233.   The article identified Ms. DeJong as a third-year student in the SIUE

Art Therapy Program, described the no-contact orders, and included statements by

one of her attorneys. Ex. 7.

      234.   On or about March 2, Defendant Robb sent text messages to “Alumna
Two”—an SIUE art therapy alumna and acquaintance of Ms. DeJong. Defendant

Robb asked Alumna Two, “Have you seen the press [Ms. DeJong] is doing?” and

remarked, “She’s burning bridges.” Exhibit 13 is a redacted copy of that text message

string.

      235.   Defendant Robb sent these messages hoping Alumna Two would

persuade Ms. DeJong to stop speaking to the media about the no-contact orders, the

demand letter, and the Art Therapy Program.

      236.   Alumna Two answered, “I do not speak for her experience. As do I not

know the entirety of it all. But in my experience, maybe some bridges need burned.”

Id.

      237.   That was not the response Defendant Robb had hoped for.

      238.   The next day, March 3, Defendant Robb emailed her fellow art therapy

professors, Ms. DeJong, and the approximately 30 other art therapy students. Exhibit

14 is a copy of that email.

      239.   The email’s subject line read: “follow up from [March 1] community

meeting.”
      240.   Defendant Robb “thank[ed]” the meeting’s attendees for “sharing your

honesty and commitment to anti-oppression . . . .” Id.


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           241.   The meeting, she said, “shed light onto our collective need to step up and

into empowerment around ensuring anti-oppression acts in our community.” Id.

           242.   Defendant Robb then added: “We cannot comment on the current

investigation; however, the art therapy program and SIUE does not have a clear

policy or consequence to oppressive acts. Therefore, we are revising our annual

student review to align with our mission statement. By ensuring documentation and

remediation for both students’ growing areas and misconduct whether in the

classroom or outside.” Id. (emphasis added).
           243.   Defendant Robb’s reference to “the current investigation” was to the

EOA Office’s then-ongoing investigation of Ms. DeJong.

           244.   Before Defendant Robb’s March 3 email, no University official had

publicly stated that Ms. DeJong was even under investigation.

           245.   That disclosure violated Policy 3C7’s confidentiality requirement: “All

parties involved in an investigation . . . are obligated to protect the privacy of all

persons involved. The University will take reasonable steps to ensure confidentiality

. . . .”

           246.   Defendant Robb’s March 3 email to the more than 30 addressees was

not a “reasonable step[ ] to ensure confidentiality” of the University’s investigation of

Ms. DeJong.

           247.   Given the context of the March 3 email, Defendant Robb implied to the

more than 30 addressees that Ms. DeJong had committed “oppressive acts” and

“misconduct.”

           248.   Defendant Robb’s statement that “we are revising our annual student

review [process]” to account for “oppressive acts” or “misconduct” not covered under
any current SIUE or Art Therapy Program policy caused Ms. DeJong to fear that

Robb would use the revisions to further punish Ms. DeJong’s protected speech and

prevent her from graduating.
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          3)    SIUE art therapy students and alumni add their names to a
                letter to the editor accusing Ms. DeJong of “racist,
                homophobic, and xenophobic rhetoric.”
       249.    On March 27, 2022—continuing with Defendant Robb’s false theme that

Ms. Dejong had committed “oppressive acts” and “misconduct”—an art therapy

student, “Student B.P.,” emailed her fellow art therapy students, more than a dozen

art therapy alumni, Defendant Robb, and the other two art therapy professors. The

email’s subject line read: “IMPORTANT! Community Meeting Response.”

       250.    The email—as well as the “collaborative Community Letter” attached to

the email—concerned the March 1 community meeting and “recent articles . . .
circulating due to a claim that our program/SIUE is intolerant of Christian

viewpoints and silences students.”

       251.    Exhibit 19A is a redacted copy of the email, and Exhibit 19B is a copy of

the letter.

       252.    Though Ms. DeJong is not identified by name in either the email or the

community letter, it is clear from their context that she was the subject of both.

       253.    Student B.P. said the community letter would be published along with

a then-upcoming news story and said, “If our letter resonates with you and you would

be interested in having your name added to the bottom of this letter in support, it will

be included when our story is published . . . .”

       254.    Student B.P. added, “We welcome this letter to be shared and hope to

continue this conversation.” Ex. 19A.

       255.    The letter read, in part, “[A] line is crossed when students use their

belief system to justify racist, homophobic, and xenophobic rhetoric. When

Christianity is used as a shield for bigotry, one perpetuates the historical abuses that

have occurred and continues to cause tremendous harm. Unfortunately, our program
has a history and current reality of students who use their beliefs to justify such



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harmful rhetoric and action, which creates a toxic and harmful learning

environment.” Ex. 19B.

       256.   The letter’s authors added, “The three core faculty members have made

a point to weave issues of intersectionality, critical self-reflexivity, and sociocultural

awareness into most facets of our learning.”

       257.   The authors rhetorically asked: “If individuals cause harm to fellow

students, how can we expect them to not cause harm to clients?” and “If the university

expects to create art therapists who ‘take reasonable steps to ensure that they are
sensitive to differences that exist among cultures’ . . . how can one overlook the harm

currently being caused in our learning community by the failure to meet this

outcome?” Id.

       258.   The letter is devoid of any examples of “racist, homophobic, and

xenophobic rhetoric” or other “harmful rhetoric and action” by Ms. DeJong.

       259.   The letter, along with an article about the no-contact orders, was

published in the SIUE student newspaper on April 14, 2022. See Letter to the Editor:

Belief Systems Should not justify prejudiced rhetoric, The Alestle (Apr. 14, 2022),

https://bit.ly/39T7B17 (last viewed May 26, 2022); Gabriel Brady, Complaint filed in

art therapy leads to legal action, students feeling neglected, The Alestle (Apr. 14,

2022), https://bit.ly/3NxfmYT (last viewed May 26, 2022).

       260.   Exhibit 20A is a copy of the letter to the editor, and Exhibit 20B is a copy

of the article.

       261.   The letter was reportedly “[s]igned” by 52 “past and present community

members,” made up of a nearly even split between Art Therapy Program students

and alumni. Among the reported signatories was even an adjunct faculty member.

       262.   The letter’s authors and signatories “urg[ed] those who have exploited

these matters to make a statement that calls for the end to the threats made against


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members of our community” and “invite[d] these individuals to engage in open

dialogue with us.” Exs. 19B, 20A.

      263.     For nearly three years, before the issuance of the no-contact orders, Ms.

DeJong engaged in open dialogue with her professors and her fellow students—in the

classroom, outside the classroom, and on social media.

      264.     University officials, including Defendants, ultimately responded to that

dialogue by:

         a. encouraging Ms. DeJong’s fellow students to report her protected
               speech;

         b. issuing three no-contact orders against Ms. DeJong without notice or the

               chance to defend herself;

         c. threatening “disciplinary consequences” if Ms. DeJong violated the

               orders;

         d. copying a police officer on the orders;

         e. publicizing that Ms. DeJong was under investigation;

         f. publicly accusing Ms. DeJong of “burning bridges,” “misconduct,” and

               “oppressive acts”; and

         g. threatening revisions to the annual review process to account for the

               type of “misconduct” and “oppressive acts” Ms. DeJong allegedly

               committed.

    F.   The effect of Defendants’ unconstitutional actions on Ms. DeJong
      265.     The no-contact orders censored Ms. DeJong’s speech and restricted her

physical movement.

      266.     Further, during the eighteen days that the no-contact orders were in

place, Ms. DeJong self-censored her speech and limited her movements out of fear

that University officials would find that her speech or movements constituted “any


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contact” or “indirect communication” with Student A.S., Student T.P., or Student

S.W. or a “form of harassment, retaliation, or intimidating behavior,” and thus

violative of the no-contact orders. Exs. 3, 4, 5.

      267.   During that same period, Ms. DeJong limited when and where she went

on campus—e.g., for work, class, and weekly mandatory COVID testing—out of fear

that she would encounter Student A.S., Student T.P., or Student S.W. and that

university officials would find such contact as violative of the no-contact orders.

      268.   Even after Defendant Ball issued the case-closure memorandum on
March 10, Ms. DeJong continued to self-censor her speech and limit her movements

out of fear that university officials would find her speech or movements as

“retaliation” and thus “grounds for disciplinary action.” Ex. 15A

      269.   After reading Defendant Robb’s accusation about Ms. DeJong “burning

bridges” and Robb’s March 3 accusing her of “misconduct” and “oppressive acts,” Ms.

DeJong self-censored her speech out of fear that Robb was “revising our annual

student review [process]” to account for “oppressive acts” or “misconduct” not covered

under any current SIUE or Art Therapy Program policy to further punish Ms.

DeJong’s protected speech and prevent her from graduating.

      270.   Defendants’ unconstitutional actions caused more than censorship of

Ms. DeJong’s speech and restrictions of her movement.

      271.   Because of Defendants’ unconstitutional actions, Ms. DeJong has

suffered sleeplessness, anxiety, chest pains, feelings of sadness, loss of appetite,

weight loss, lack of concentration, harm to her reputation, and future loss of

employment and wages.




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                                    COUNT ONE
                        Violation of the First Amendment
                                   Retaliation
      272.    Ms. DeJong repeats each of the allegations in paragraphs 1–271.

      273.    Ms. DeJong brings this count against all Defendants.

      274.    The   First   Amendment’s    Free    Speech   Clause   prohibits   public

universities and their officials from retaliating against or disciplining a student for

their constitutionally protected speech.

      275.    Ms. DeJong engaged in protected speech when she (a) posted materials

to her social media accounts, sent messages to her fellow students, and engaged in

in-class discussions on topics such as religion, politics, critical race theory, Black

Lives Matter, the criminal justice system, COVID-19 regulations, Marxism, and

censorship; (b) sent the demand letter to Defendant Pembrook; and (c) spoke to the

media about the no-contact orders.

      276.    Defendants Pembrook and Ball intentionally issued three no-contact

orders against Ms. DeJong and threatened “disciplinary consequences” if she violated

the orders.

      277.    Ms. DeJong’s protected speech was at least a motivating factor in their
decisions to take these actions.

      278.    Defendant Robb intentionally directed and encouraged art therapy

students to report Ms. DeJong’s speech to University officials, publicized that Ms.

DeJong was under investigation, publicly accused Ms. DeJong of “misconduct” and

“oppressive acts,” and promised to revise the annual review process to account for
such “misconduct” and “oppressive acts.”

      279.    Ms. DeJong’s protected speech was at least a motivating factor in

Defendant Robb’s decision to take these actions.

      280.    Because of Defendants’ actions, Ms. DeJong self-censored her speech

and limited her physical movements.

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       281.   Defendants’ actions would likely deter an ordinary person in Ms.

DeJong’s position from engaging in similar speech.

                                   COUNT TWO
                        Violation of the First Amendment
                      Content and Viewpoint Discrimination
       282.   Ms. DeJong repeats each of the allegations in paragraphs 1–271.

       283.   Ms. DeJong brings this count against all Defendants.

       284.   The First Amendment’s Free Speech Clause prohibits discrimination

against speech based on its content and viewpoint.

       285.   Defendants Pembrook and Ball issued the three no-contact orders

against Ms. DeJong based on her social media posts, personal communications, and

in-class discussions on various topics, including religion, politics, critical race theory,

Black Lives Matter, the criminal justice system, COVID-19 regulations, Marxism,

and censorship.

       286.   Based on that same speech, as well as Ms. DeJong’s demand letter and

speech to the media, Defendant Robb directed and encouraged art therapy students

to report Ms. DeJong’s speech to University officials, publicized that Ms. DeJong was

under investigation, publicly accused Ms. DeJong of “misconduct” and “oppressive

acts,” and promised to revise the annual review process to account for such

“misconduct” and “oppressive acts.”

       287.   Other students in the Art Therapy Program, as well as faculty members,

have spoken about and expressed their viewpoints on the same or similar topics. Yet

University officials, including Defendants, did not take any action against those

speakers based on their speech.

       288.   For example, University officials, including Defendants, did not take
any action against:




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          a. any student for creating the art display claiming that Ms. DeJong’s

             statement—“my personal held beliefs are grounded in the objective

             truth by the gospel of Jesus Christ”—constituted a “microaggression”;

          b. Ms. DeJong’s fellow art therapy students for expressing their viewpoints

             about her wearing a “Back the Blue” hat;

          c. Student B.P. for her March 27 email, with attached “collaborative

             Community Letter,” accusing Ms. DeJong of “racist, homophobic, and

             xenophobic rhetoric” and encouraging the nearly 50 addressees to
             “share[ ]” the letter;

          d. the art therapy students and adjunct faculty member for signing the

             letter and publishing it in the student newspaper;

          e. Professor George for her Instagram post declaring “Muslim lives

             matter,” “Elephant lives matter,” and “Elephants for Black Lives

             Matter”; or

          f. Professor Goebl-Parker for her Facebook profile that read, “encourage

             your hopes, not your fears #BLACKLIVESMATTER.”

      289.   Nor did University officials, including Defendants Pembrook and Ball,

take any action against Defendant Robb for her expressing disapproval of Ms. DeJong

wearing a “Back the Blue” hat, posting on social media about the acquittal of Kyle

Rittenhouse, or accusing Ms. DeJong of “misconduct” and “oppressive acts” in an

email to the more than 30 art therapy students, among other things.

      290.   What’s more, Policy 3C6’s prohibition against “[h]arassment of any

kind,” which includes “discriminatory harassment,” see Ex. 1, ¶ A, is a content-based

speech restriction.
      291.   The definition of “discriminatory harassment” draws facial distinctions

by defining regulated speech by subject matter—that is, speech about “any person or

groups of persons” who belong to one of the policy’s fifteen protected categories: “race,
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color, national origin, ancestry, religion, sex, sexual orientation including gender

identity, marital status, civil union status, age, physical or mental disability, military

status, or unfavorable discharge from military service.” Id.

      292.   The Free Speech Clause’s prohibition against content- and viewpoint-

based discrimination not only demands that public universities refrain from that

discrimination, but also requires universities to limit the discretion of their officials

through narrow, objective, and definite standards to protect against content- and

viewpoint-based discrimination.
      293.   Policies 3C6 and 3C7 contain no guidelines sufficient to prevent

University officials, including Defendants, from exercising unbridled discretion to

target speech whose content and viewpoints they disagree with.

      294.   Policy 3C6 defines “discriminatory harassment” using the open-ended

prefatory phrase “includes, but is not limited to.” Id.

      295.   The speech proscribed under Policy 3C6’s definition of “discriminatory

harassment” “includes, but is not limited to” speech that has the “reasonably

foreseeable effect of . . . creating an offensive [or] demeaning . . . environment” for any

person or group of persons belonging to one of the policy’s fifteen protected categories.

Id.

      296.   Policy 3C6 grants University officials unbridled discretion to target

disfavored speech that they think might create an “offensive [or] demeaning”

environment.

      297.   Further, Policy 3C7 grants University officials unbridled discretion to

impose “interim measures” against a student while investigating allegations that the

student’s speech violated Policy 3C6, without making any finding that the student
had violated Policy 3C6.

      298.   Defendants applied Policies 3C6 and 3C7 and exercised their unbridled

discretion to target Ms. DeJong’s protected speech.
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       299.     Neither Defendants’ actions against Ms. DeJong nor Policies 3C6 and

3C7 supported a compelling government interest and were not narrowly tailored to

any such interest.

                                    COUNT THREE
                          Violation of the First Amendment
                                   Prior Restraints
       300.     Ms. DeJong repeats each of the allegations in paragraphs 1–271.

       301.     Ms. DeJong brings this count against Defendants Pembrook and Ball.

       302.     Threatening to censor future speech is a prior restraint.

       303.     Policies 3C6 and 3C7 threaten to censor future speech. See Exs. 1, 2.

       304.     Policy 3C7 sets out a non-exclusive list of penalties, including “interim

measures,” for violating Policy 3C6. Ex. 2, ¶¶ IV.E, VI.B.

       305.     Policy 3C6 prohibits “discriminatory harassment.” Ex. 1, ¶ A.

       306.     Policy 3C6 defines “discriminatory harassment” using the open-ended

prefatory phrase “includes, but is not limited to.” Id.

       307.     The   “conduct”    proscribed    under    Policy   3C6’s    definition   of

“discriminatory harassment” “includes, but is not limited to” speech that has the

“reasonably foreseeable effect of . . . creating an offensive [or] demeaning . . .

environment” for any person or group of persons belonging to one of the policies

fifteen protected categories: “race, color, national origin, ancestry, religion, sex,

sexual orientation including gender identity, marital status, civil union status, age,

physical or mental disability, military status, or unfavorable discharge from military

service.” Id.

       308.     Policy 3C6 adds that “[h]arassment of any kind is strictly prohibited.”

Id.

       309.     Defendants applied Policies 3C6 and 3C7 when they imposed the no-
contact orders against Ms. DeJong.


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       310.     Defendants imposed the no-contact orders based on Ms. DeJong’s

protected speech.

       311.     The no-contact orders threatened “disciplinary consequences” if Ms.

DeJong violated the no-contact orders. Exs. 3, 4, 5.

       312.     Each no-contact order barred Ms. DeJong from having “any contact”

with one of the specified students—Student A.S., Student T.P., or Student S.W.—

“either on or off campus, in person or through another party, by telephone, letter, e-

mail, or other electronic media, or by any other means.” Exs. 3, 4, 5.
       313.     Each no-contact order barred Ms. DeJong from “engag[ing] in indirect

communication” with the specified student “via social media or any other means.”

Exs. 3, 4, 5.

       314.     Policies 3C6 and 3C7 and the application of those policies to Ms. DeJong

did not support a compelling government interest and were not narrowly tailored to

achieve any such interest.

       315.     The no-contact orders issued against Ms. DeJong did not support a

compelling government interest and were not narrowly tailored to achieve any such

interest.

                                     COUNT FOUR
                          Violation of the First Amendment
                                    Overbreadth
       316.     Ms. DeJong repeats each of the allegations in paragraphs 1–271.

       317.     Ms. DeJong brings this count against Defendants Pembrook and Ball.

       318.     Policy 3C6 prohibits “discriminatory harassment.”

       319.     Policy 3C6 defines “discriminatory harassment” using the open-ended

prefatory phrase “includes, but is not limited to.” Ex. 1, ¶ A.

       320.     The   “conduct”   proscribed     under   Policy   3C6’s   definition   of

“discriminatory harassment” “includes, but is not limited to” speech that has the

“reasonably foreseeable effect of . . . creating an offensive [or] demeaning . . .
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environment” for any person or group of persons belonging to one of the policies

fifteen protected categories: “race, color, national origin, ancestry, religion, sex,

sexual orientation including gender identity, marital status, civil union status, age,

physical or mental disability, military status, or unfavorable discharge from military

service.” Ex. 1, ¶ A.

       321.   Policy 3C6 adds that “[h]arassment of any kind is strictly prohibited.”

Id.

       322.   Policies 3C6 and 3C7 regulate a substantial amount of constitutionally
protected speech in relation to any plainly legitimate sweep.

       323.   Defendants applied Policies 3C6 and 3C7 to retaliate against,

discriminate against, punish, censor, and otherwise limit Ms. DeJong’s protected

speech.

                                    COUNT FIVE
                     Violation of the Fourteenth Amendment
                  Procedural Due Process and Void for Vagueness
       324.   Plaintiff repeats each of the allegations in paragraphs 1–271.

       325.   Ms. DeJong alleges this count against Defendants Pembrook and Ball.

       326.   The Due Process Clause of the Fourteenth Amendment prohibits public

universities from disciplining students without giving them notice of the allegations

against them and an opportunity to be heard before an impartial tribunal.

       327.   Defendants disciplined Ms. DeJong when they issued the no-contact

orders against her based on her protected speech and threatened further discipline if

she violated the orders.

       328.   Defendants did not give Ms. DeJong notice of the allegations against her

or the opportunity to be heard before an impartial tribunal before issuing the no-

contact orders.

       329.   Nor did Defendants set a hearing after the no-contact orders were issued

to determine whether to keep the orders in place after a certain point.
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      330.    In fact, each order was to “remain in effect during the remainder of the

spring 2022 semester” unless the EOA Office informed Ms. DeJong that the order

was “modified or revoked.” Exs. 3, 4, 5.

      331.    Policy 3C7 is silent about the process a student must be afforded before

imposing “interim measures,” such the no-contact orders issued against Ms. DeJong,

or what standard University officials must meet before imposing “interim measures.”

Ex. 2, ¶ IV.E.

      332.    The Due Process Clause also requires that a public university’s policies
and orders provide adequate notice of what they prohibit.

      333.    Policy 3C6 is void for vagueness.

      334.    The   “conduct”    proscribed     under   Policy   3C6’s   definition   of

“discriminatory harassment” “includes, but is not limited to” speech that has the

“reasonably foreseeable effect of . . . creating an offensive [or] demeaning . . .

environment” for any person or group of persons belonging to one of the policy’s fifteen

protected categories: “race, color, national origin, ancestry, religion, sex, sexual

orientation including gender identity, marital status, civil union status, age, physical

or mental disability, military status, or unfavorable discharge from military service.”

Ex. 1, ¶ A.

      335.    Policy 3C6 does not define what an “offensive [or] demeaning . . .

environment” is.

      336.    Nor could it, because that phrase is inherently subjective.

      337.    What’s more, as evidenced by Policy 3C6’s use of the open-ended

prefatory phrase “includes, but is not limited to” to define “discriminatory

harassment,” the definition is not limited to the “oral [or] written” “conduct”—or any
other conduct—listed in the definition.




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      338.   These terms, among others used in Policy 3C6, were incapable of

providing meaningful guidance to Ms. DeJong or to University officials, including

Defendants, who enforced them.

      339.   Defendants applied Policy 3C6 in issuing the three no-contact orders

against Ms. DeJong.
                                 REQUEST FOR RELIEF
      Plaintiff Maggie R. DeJong requests that this Court:

      A.     Award compensatory, nominal, and punitive damages for the violations

             of Plaintiff’s constitutional rights;

      B.     Enter    judgment    declaring     that   Defendants   violated   Plaintiff’s

             constitutional rights;

      C.     Enter    judgment     declaring    that    the   no-contact   orders   were

             unconstitutional;

      D.     Enter judgment declaring that these provisions of Policy 3C6 and Policy

             3C7 were unconstitutional, both facially and as applied:

             1. Policy 3C6’s definition of “discriminatory harassment,” Ex. 1, ¶ A;

             2. Policy 3C6’s prohibition against “harassment of any kind,” id.; and

             3. Policy 3C7’s grant of unrestrained discretion to University officials

                to impose “interim measures” and to do so without due process under

                the law, Ex. 2, ¶ IV.E; and

      E.     Award reasonable attorneys’ fees and costs under 42 U.S.C. § 1988.




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    Respectfully submitted this 31st Day of May, 2022.

                                           /s/Greggory R. Walters
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                          DEMAND FOR TRIAL BY JURY

    Plaintiff demands a trial by jury for all issues so triable.

                                           /s/Greggory R. Walters
                                           Counsel for Plaintiff




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